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      BEFORE THE UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT
                            LITIGATION




IN RE: DEERE & COMPANY REPAIR                            MDL DOCKET NO. 3030
SERVICES ANTITRUST LITIGATION




                                 SCHEDULE OF ACTIONS

No.           Case Caption                Court             Civil Action     Judge
                                                                No.
1.    Plaintiff: Blake Johnson       U.S.D.C.              1:22-cv-00047   Michael P.
                                     Northern District                       Mills
      Defendant: Deere & Co.         of Mississippi
      (d/b/a John Deere)
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Dated: March 21, 2022                  Respectfully submitted,



                                       By: /s/ John M. Majoras

                                       John M. Majoras
                                       jmmajoras@jonesday.com
                                       JONES DAY
                                       51 Louisiana Avenue, N.W.
                                       Washington, DC 20001
                                       Telephone: (202) 879-3939

                                       Tiffany Lipscomb-Jackson
                                       tdlipscombjackson@jonesday.com
                                       JONES DAY
                                       325 John H. McConnell Boulevard,
                                       Suite 600
                                       Columbus, OH 43215-2673
                                       Telephone: (614) 281-3876

                                       Corey A. Lee
                                       calee@jonesday.com
                                       JONES DAY
                                       North Point
                                       901 Lakeside Avenue
                                       Cleveland, Ohio 44114
                                       Telephone: (216) 586-3939

                                       Amanda B. Maslar
                                       amaslar@jonesday.com
                                       JONES DAY
                                       77 West Wacker, Suite 3500
                                       Chicago, IL 60601.1692
                                       Telephone: (312) 782-3939


                                       Counsel for Defendant Deere & Company
